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                   UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

GLENNI PEREZ and ARIEL KELLY,
                                                      CASE NO. _____________
     Plaintiffs,

v.

 GREAT LAKES INSURANCE SE,

   Defendant.
 _______________________________________/

                              NOTICE OF REMOVAL

        Defendant, Great Lakes Insurance SE (“Great Lakes”), hereby removes to this

Court the state court action Glenni Perez and Ariel Kelly v. Great Lakes Insurance SE,

Case No. 2023-CA-003818, filed in the Circuit Court of the Ninth Judicial Circuit in

and for Osceola County, Florida. In support of this Notice of Removal (“Notice”),

Great Lakes states as follows:

                                  BACKGROUND

        1.     On July 12, 2023, Plaintiffs commenced this civil action by filing a

Complaint in the Circuit Court of the Ninth Judicial Circuit in and for Osceola

County, Florida.

        2.     On July 25, 2023, Great Lakes was served with the Complaint.

        3.     In the Complaint, Plaintiffs allege that they own the real property

located at 2716 Lucas Lakes Ln, Kissimmee, FL 34744 (the “Property”). Compl., ¶¶

2, 4.

                                          1
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      4.     Plaintiffs also allege that Great Lakes provided property insurance

coverage for the Property. Id. at ¶ 4.

      5.     Plaintiffs further allege that the Property sustained damage from

Hurricane Ian on September 28, 2022 and that Great Lakes breached the insurance

contract by failing to pay sufficient funds to Plaintiffs to restore the Property to its

pre-loss condition. Id. at ¶¶ 7-8, 16-20.

      6.     As a result, Plaintiffs sued Great Lakes for breach of contract.

However, the Complaint filed on Plaintiffs’ behalf did not specify the amount of

compensatory damages sought.

      7.     Following the filing of this lawsuit, Plaintiffs provided Great Lakes with

a global settlement demand of $118,500 in an email dated November 15, 2023 which

also attached a detailed supporting estimate of repairs in the net amount of

$75,619.97. Attached hereto as Composite Exhibit 1 are the November 15, 2023

settlement demand and the supporting estimate.

      8.     Upon information and belief, Plaintiffs are domiciled in Florida and

reside at 2716 Lucas Lakes Ln, Kissimmee, FL 34744 – the Property designated as

their homestead. Attached hereto as Exhibit 2 is a copy of publicly available

information on the Osceola County Property Appraiser website confirming that

Plaintiffs’ homestead is in Osceola County, Florida. Accordingly, Plaintiffs are

citizens of Florida for the purposes of diversity jurisdiction because they are

domiciled in Osceola County, Florida.




                                            2
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      9.     Great Lakes is organized as Societas Europaea, or “SE,” and is a

European corporation pursuant to the corporate laws of the European Union. In

determining the citizenship of an SE for federal diversity jurisdiction purposes, the

district court in SNC-Lavalin Constructors Inc. v. Tokio Marine Kiln Insurance Limited,

Certain Underwriters at Lloyd’s, Civ. Nos. GJH-19-873 and GJH-19-1510, 2021 WL

2550505 (D. Md. June 21, 2021) found that an SE had all of the features of a U.S.

corporation. Id. at *9. Accordingly, the court concluded that an SE should be

treated like a U.S. corporation for the purposes of diversity jurisdiction. Id.

Therefore, when determining Great Lakes’ citizenship, it is a citizen of both its state

of incorporation and principal place of business for purposes of diversity jurisdiction.

28 U.S.C. § 1332(c)(1).

      10.    Great Lakes’ registered office is in Munich, Germany, entered into the

commercial register of the local court in Munich under HRB 230378. Furthermore,

Great Lakes’ principal place of business is at Königinstrasse 107, 80802 Munich,

Germany. Therefore, Great Lakes’ state of incorporation and principal place of

business are both Munich, Germany, and Great Lakes is therefore a citizen of

Germany for purposes of diversity jurisdiction.

      11.    Great Lakes invokes this Court’s jurisdiction because complete diversity

exists among the parties to this proceeding and the amount in controversy exceeds

$75,000, exclusive of interest and costs.




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      12.     In accordance with 28 U.S.C. § 1446(b)(3), the Notice of Removal is

being filed within 30 days from Plaintiffs’ November 15, 2023 email communicating

their global settlement demand and supporting estimate.

      13.     In compliance with 28 U.S.C. § 1446(a) and Local Rule 1.06, Great

Lakes will concurrently file the required state court record and papers.

              DIVERSITY JURISDICTION EXISTS IN THIS CASE

      14.     This action is a civil action over which this Court has original

jurisdiction pursuant to 28 U.S.C. § 1332. It may be removed to this Court by Great

Lakes pursuant to the provisions of 28 U.S.C. § 1441(a), in that there exists complete

diversity between the parties and the amount in controversy exceeds the sum of

$75,000, exclusive of interest and costs.

A.    Full Diversity Exists Among the Parties

      15.     To meet the jurisdictional requirements of § 1332(a), the citizenship of

each plaintiff must be different from that of each defendant. Owen Equip. & Erection

Co. v. Kroger, 437 U.S. 365, 373 (1978). “[A] corporation shall be deemed to be a

citizen of every State and foreign state by which it has been incorporated and of the

State or foreign state where it has its principal place of business. . .” 28 U.S.C. §

1332(c)(1).

      16.     As noted above, Plaintiffs Glenni Perez and Ariel Kelly are citizens of

Florida.

      17.     As further outlined above, Great Lakes is a citizen of Germany.

Consequently, Great Lakes is not a citizen of Florida.

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      18.    Accordingly, full diversity exists among the parties to this proceeding.

B.    The Amount in Controversy Exceeds $75,000

      19.    Federal courts in this state and the Eleventh Circuit have held that

when a complaint does not claim a specific amount of damages in excess of $75,000,

courts may examine “evidence relevant to determine the amount in controversy at

the time the case was removed.” Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1219-

20 (11th Cir. 2001).    “The amount in controversy is not proof of the amount the

plaintiff will recover. Rather, it is an estimate of the amount that will be put at issue

in the course of the litigation.” Pretka v. Kolter City Plaza II, 608 F.3d 744, 751 (11th

Cir. 2010) (citing McPhail v. Deere & Co., 529 F.3d 947, 956 (10th Cir.2008)). In that

regard, a removing defendant is not required to “prove the amount in controversy

beyond all doubt or to banish all uncertainty about it.’ Id. at 754. The defendant

needs to simply demonstrate that the amount in controversy “more likely than not

exceeds the…jurisdictional requirements.” Tapscott v. MS Dealer Service Corp., 77 F.3d

1353, 1357 (11th Cir. 1996), overruled on other grounds by Cohen v. Office Depot, 204

F.3d 1069 (11th Cir. 2000).

      20.    Here, on November 15, 2023, Plaintiffs communicated their global

demand for this case in the amount of $118,500 and provided a detailed supporting

estimate of repairs in the net amount of $75,619.97.         As noted in the emailed

demand, on top of the estimate for repairs, the settlement demand included over

$17,000 in mitigation invoices.      Thus, it is plainly apparent that Plaintiffs are

estimating their recovery to be over $75,000.

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      21.    Accordingly, the amount in controversy for purposes of this removal

analysis exceeds $75,000.

               ADDITIONAL PROCEDURAL REQUIREMENTS

      22.    This case is a civil action within the meaning of the Acts of Congress

relating to the removal of cases.

      23.    The United States District Court for the Middle District of Florida is the

federal court with the same venue as where this action was pending in Osceola

County Circuit Court.

      24.    Contemporaneously with the filing of this Notice, Defendant will give

notice to and file a copy of same with the Clerk of Court of the Ninth Judicial Circuit

in and for Osceola County, Florida through a notice of filing and will also serve this

Notice on Plaintiffs.

      25.    Great Lakes is the only defendant named in this action, and it may

remove the action without seeking the consent of any other party. See White v.

Bombardier Corp., 313 F.Supp.2d 1295, 1299-1300 (N.D. Fla. 2004); 28 U.S.C. §

1446(b).

      WHEREFORE, Defendant, Great Lakes Insurance SE, hereby gives notice

that the matter styled Glenni Perez and Ariel Kelly v. Great Lakes Insurance SE, Case No.

2023-CA-003818, filed in the Circuit Court of the Ninth Judicial Circuit in and for

Osceola County, Florida, is properly removed from the Circuit Court of the Ninth

Judicial Circuit in and for Osceola County, Florida to the United States District

Court for the Middle District of Florida, Orlando Division.

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                                    CONCLUSION

       For all the foregoing reasons, Defendant, Great Lakes Insurance SE,

respectfully requests this Court to assume full jurisdiction over the cause herein, as

provided by law.

       Dated: December 15, 2023.

                                                 BAKER, DONELSON, BEARMAN,
                                                 CALDWELL & BERKOWITZ, PC
                                                 100 S.E. Third Avenue, Suite 1620
                                                 Fort Lauderdale, Florida 33394
                                                 Telephone: (954) 768-1600

                                                 /s/ David B. Levin
                                                 David B. Levin (Lead Counsel)
                                                 Florida Bar No.: 026394
                                                 dlevin@bakerdonelson.com
                                                 Desislava K. Docheva
                                                 Florida Bar No. 1010440
                                                 ddocheva@bakerdonelson.com
                                                 Jennifer T. Harley
                                                 Florida Bar No.: 962821
                                                 jharley@bakerdonelson.com
                                                Counsel for Defendant, Great Lakes
                                                Insurance SE

                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 15, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to counsel of record.

                                                 /s/ David B. Levin
                                                   David B. Levin




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                                                               63 PageID18


From:             Vinit Venkatesh
To:               Shlyakhov, Angela
Cc:               Kravec, Josh; Levin, David
Subject:          Re: Glenni Perez and Ariel Kelly vs. Great Lakes Insurance SE // Request for Extension of Time to Respond to
                  Insureds" Discovery Requests, Request for Initial Settlement Demand from Insureds, Request for Call between
                  counsel
Date:             Wednesday, November 15, 2023 3:16:47 PM


Angela:

No issue with the extension.

I have the authority to resolve this matter for $118,500.00 global, which is inclusive of the
$4,080.00 invoice and $13,697.91 invoice from tarp and restoration geeks. If they have
already been paid for their services, let me know and I will reduce my demand.

I am available to discuss either thursday or friday of this week, if that works for your office. I
am out from November 20th till the 29th.

Attached is the estimate as a google drive.
        ESTIMATE - 2023-11-15T151553.133.pdf
Let me know.

Thanks,

Vin

  Vin Roy Venkatesh, Esq.

  Property Litigation Group,
  PLLC

  Managing Partner

  2750 SW 145th
  Avenue | Suite
  509 | Miramar, FL 33027
  P: (786) 703-8810 | F: (305)
  503-9595

  VV@plglawyersfl.com




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  promoting, marketing or recommending to
  another party any matters addressed herein.




On Wed, Nov 15, 2023 at 10:25 AM Shlyakhov, Angela <ashlyakhov@bakerdonelson.com>
wrote:

 Good morning, Vinit:

 Our responses to your clients’ discovery requests are due on Friday, November 17,
 2023.

 In light of ongoing settlement negotiations, we kindly request a 30-day extension of
 time from tomorrow, through and including Monday, December 18, 2023, within
 which to respond to your clients’ requests. Kindly advise if you are agreeable to our
 request.

 Additionally, as you discussed with our office, please send over an initial settlement
 demand that we can take back to our client.

 Please provide us with dates and times for David and/or Josh to speak with you on
 this matter.

 Thank you.



 Angela Shlyakhov

 Paralegal

 Baker, Donelson, Bearman, Caldwell & Berkowitz, PC

 100 S.E. 3rd Ave., Suite 1620
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  Fort Lauderdale, FL 33394

  Direct Line: 954.768.1625

  E-mail: ashlyakhov@bakerdonelson.com

  www.bakerdonelson.com




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                   Let Us Adjust Consultant Insurance
                   7380 W Sand Lake Rd Suite 500
                   Orlando, FL. United States


             Insured:    Glenni Perez And Ariel K Mateo
            Property:    2716 Lucas Lakes Ln
                         Kissimmee, FL 34744


     Claim Number: 202361                      Policy Number: PLF421354R               Type of Loss: Hurricane

       Date of Loss:     9/28/2022 12:00 AM                Date Received:
      Date Inspected:                                       Date Entered:   12/16/2022 9:45 AM

           Price List:   FLOR8X_DEC22
                         Restoration/Service/Remodel
            Estimate:    2022-12-16-0945


    This estimate is based on items found at time of inspection.
2
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                                     Let Us Adjust Consultant Insurance
                                     7380 W Sand Lake Rd Suite 500
                                     Orlando, FL. United States


                                                                                               2022-12-16-0945
                                                                                                 Main Level

                                                                     Porche                                                                                 Height: 8'
                            17' 7"
                                                                                    154.67 SF Walls                              169.97 SF Ceiling
                                                                                    324.64 SF Walls & Ceiling                    169.97 SF Floor
                                                            9' 8"




                            Porche
                                                                                     Dining Room
                                                                                     18.89 SY Flooring                            19.33 LF Floor Perimeter
                                                                                     19.33 LF Ceil. Perimeter


     Missing Wall                                                                      17' 7" X 8'                     Opens into Exterior
     Missing Wall                                                                      17' 7" X 8'                     Opens into Exterior

     DESCRIPTION                                                              QUANTITY UNIT PRICE             TAX        O&P         RCV     DEPREC.            ACV
     1. Contents - move out then reset - Extra                                    1.00 EA        221.08         0.00     44.22      265.30       (0.00)        265.30
     large room
     2. Clean stucco                                                            169.97 SF            0.77      0.13      26.20      157.21       (0.00)        157.21
     3. Seal & paint stucco                                                     154.67 SF            1.66      3.60      52.08      312.43       (0.00)        312.43
     4. R&R 5/8" drywall - hung, taped,                                         324.64 SF            4.02     19.24     264.86    1,589.15       (0.00)      1,589.15
     floated, ready for paint
     5. Detach & Reset Ceiling fan & light                                        1.00 EA        220.11         0.00     44.02      264.13       (0.00)        264.13
     6. Final cleaning - construction -                                         169.97 SF          0.34         0.00     11.56       69.35       (0.00)         69.35
     Residential

     Totals: Porche                                                                                           22.97     442.94    2,657.57           0.00    2,657.57




                   16' 5"             16'                            Dining Room                                                                            Height: 8'
        4' 11"      5'                  5'     4' 6"
         4' 7"                                 4' 2"                                613.33 SF Walls                              330.35 SF Ceiling
                   16' 1"            15' 8"
                                                                                    943.69 SF Walls & Ceiling                    330.35 SF Floor
                                                   13' 1"
                                                            13' 9"




                      Dining Room
                                                                                     36.71 SY Flooring                            76.67 LF Floor Perimeter
          6' 10"      4'             14' 5"                                          76.67 LF Ceil. Perimeter
          7' 2"                       14' 9"




     DESCRIPTION                                                              QUANTITY UNIT PRICE             TAX        O&P         RCV     DEPREC.            ACV
     7. Contents - move out then reset - Extra                                    1.00 EA        221.08         0.00     44.22      265.30       (0.00)        265.30
     large room
     8. Mask and prep for paint - plastic, paper,                                76.67 LF            1.58       1.55     24.54      147.23       (0.00)        147.23
     tape (per LF)
     9. Floor protection - self-adhesive plastic                                330.35 SF            0.73       3.47     48.94      293.57       (0.00)        293.57
     film
     10. Mask per square foot for drywall work                                  943.69 SF            0.32      4.25      61.26      367.49       (0.00)        367.49
     11. R&R 1/2" drywall - hung, taped, ready                                  613.33 SF            3.42     30.36     425.60    2,553.55       (0.00)      2,553.55
     for texture
     12. R&R 5/8" drywall - hung, taped, ready                                  330.35 SF            3.60     19.33     241.72    1,450.31       (0.00)      1,450.31
     for texture
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                                        Let Us Adjust Consultant Insurance
                                        7380 W Sand Lake Rd Suite 500
                                        Orlando, FL. United States




                                                                        CONTINUED - Dining Room



          DESCRIPTION                                        QUANTITY UNIT PRICE            TAX          O&P         RCV     DEPREC.             ACV
          13. Seal the walls and ceiling w/PVA                 943.69 SF        0.67           4.25    127.32      763.84        (0.00)        763.84
          primer - one coat
          14. Texture drywall - heavy hand texture             943.69 SF        1.73        14.16      329.36     1,976.10       (0.00)       1,976.10
          15. R&R Baseboard - 5 1/4" hardwood                   76.67 LF        9.39        34.73      150.92       905.58       (0.00)         905.58
          16. Paint baseboard - two coats                       76.67 LF        1.69         0.98       26.12       156.67       (0.00)         156.67
          17. Paint the walls and ceiling - two coats -        943.69 SF        1.45        21.94      278.06     1,668.35       (0.00)       1,668.35
          2 colors
          18. Window blind - horizontal or vertical -            2.00 EA       36.09           0.00     14.44       86.62        (0.00)         86.62
          Detach & reset
          19. Window drapery - hardware - Detach                 2.00 EA       36.09           0.00     14.44       86.62        (0.00)         86.62
          & reset
          20. Detach & Reset Hanging light fixture -             1.00 EA       61.80           0.00     12.36       74.16        (0.00)         74.16
          High grade
          21. Final cleaning - construction -                  330.35 SF        0.34           0.00     22.46      134.78        (0.00)        134.78
          Residential

          Totals: Dining Room                                                              135.02     1,821.76   10,930.17           0.00    10,930.17

          Total: Main Level                                                                157.99     2,264.70   13,587.74           0.00    13,587.74



                                                                                 Level 2

                             3' 9" 5' 4' 8"
                             3' 7"    4' 4"
                                                       Master Bedroom                                                                       Height: 8'
                            14' 10"




                                         14' 6"
                                         14' 2"
                             14' 8"




                Bedroom 1                                          690.67 SF Walls                               311.25 SF Ceiling
    Bedroom 2           Master Bedroom
                                                                  1001.92 SF Walls & Ceiling                     311.25 SF Floor
                            3' 4"
                            3' 2"




                                               5'




                Hallway                                             34.58 SY Flooring                             86.33 LF Floor Perimeter
                                               3' 3"
                                         3' 2" 3' 1"




                               4' 4' 3"
                                Closet 2 Closet 1                   86.33 LF Ceil. Perimeter
                   Stairs               4' 2"
                                        4' 6"
       Bedroom 3      Up
          DESCRIPTION                                        QUANTITY UNIT PRICE            TAX         O&P          RCV     DEPREC.             ACV
          22. Contents - move out then reset - Extra             1.00 EA      221.08           0.00     44.22      265.30        (0.00)        265.30
          large room
          23. Mask and prep for paint - plastic,                86.33 LF        1.58           1.75     27.64      165.79        (0.00)        165.79
          paper, tape (per LF)
          24. Floor protection - self-adhesive plastic         311.25 SF        0.73           3.27     46.10      276.58        (0.00)        276.58
          film
          25. Mask per square foot for drywall work            311.25 SF        0.32         1.40       20.20       121.20       (0.00)         121.20
          26. R&R 5/8" drywall - hung, taped, ready            311.25 SF        3.60        18.21      227.74     1,366.46       (0.00)       1,366.46
          for texture
          27. Seal the ceiling w/PVA primer - one              311.25 SF        0.67           1.40     41.98      251.92        (0.00)        251.92
          coat
       2022-12-16-0945                                                                                                  12/16/2022               Page: 3
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                                          Let Us Adjust Consultant Insurance
                                          7380 W Sand Lake Rd Suite 500
                                          Orlando, FL. United States




                                                                                CONTINUED - Master Bedroom



          DESCRIPTION                                                  QUANTITY UNIT PRICE            TAX           O&P         RCV     DEPREC.             ACV
          28. Texture drywall - heavy hand texture        311.25 SF                        1.73           4.67    108.64      651.77        (0.00)        651.77
          29. Remove Snaplock Laminate -                  311.25 SF                        1.64           0.00    102.10      612.55        (0.00)        612.55
          simulated wood flooring - High grade
          30. Snaplock Laminate - simulated wood          357.94 SF                        8.21      131.54       614.04     3,684.27       (0.00)       3,684.27
          flooring - High grade
          31. R&R Baseboard - 5 1/4" hardwood              86.33 LF                        9.39       39.11       169.96     1,019.71       (0.00)       1,019.71
          32. Paint baseboard - two coats                  86.33 LF                        1.69        1.10        29.40       176.40       (0.00)         176.40
          33. Paint the walls and ceiling - two coats - 1,001.92 SF                        1.45       23.30       295.22     1,771.30       (0.00)       1,771.30
          2 colors
          34. Window blind - horizontal or vertical -       2.00 EA                       36.09           0.00     14.44       86.62        (0.00)         86.62
          Detach & reset
          35. Window drapery - hardware - Detach            2.00 EA                       36.09           0.00     14.44       86.62        (0.00)         86.62
          & reset
          36. Paint door/window trim & jamb -               1.00 EA                       43.57           0.53      8.82       52.92        (0.00)         52.92
          Large - 2 coats (per side)
om 1      37. Detach & Reset Ceiling fan & light -          1.00 EA                      220.11           0.00     44.02      264.13        (0.00)        264.13
          Premium grade
          38. Final Master
                     cleaning   - construction -
                           Bedroom                        311.25 SF                        0.34           0.00     21.16      126.99        (0.00)        126.99
          Residential

          Totals: Master Bedroom                                                                     226.28      1,830.12   10,980.53           0.00    10,980.53


y


                                  4' 9"
                                                                Closet 2                                                                               Height: 8'
                                                  3' 9"
                                          3' 5"




                                                                              208.00 SF Walls                                37.19 SF Ceiling
                                                                              245.19 SF Walls & Ceiling                      37.19 SF Floor
                          8' 9"
                  9' 1"




                                                  2' 6"




                            Closet 2                       Closet 1
                                                                                4.13 SY Flooring                             26.00 LF Floor Perimeter
                                                  2' 10"




                                                                               26.00 LF Ceil. Perimeter
airs                              4' 3"
                                  4' 9"



          DESCRIPTION                                                  QUANTITY UNIT PRICE            TAX          O&P          RCV     DEPREC.             ACV

    Up    39. Contents - move out then reset - Extra                        1.00 EA      221.08           0.00     44.22      265.30        (0.00)        265.30
          large room
          40. Mask and prep for paint - plastic,                           26.00 LF        1.58           0.53      8.32       49.93        (0.00)         49.93
          paper, tape (per LF)
          41. Floor protection - self-adhesive plastic                     37.19 SF        0.73           0.39      5.52       33.06        (0.00)         33.06
          film
          42. Remove Snaplock Laminate -                                   37.19 SF        1.64           0.00     12.20       73.19        (0.00)         73.19
          simulated wood flooring - High grade
          43. Snaplock Laminate - simulated wood                           42.77 SF        8.21       15.72        73.36      440.22        (0.00)        440.22
          flooring - High grade
          44. R&R Baseboard - 5 1/4" hardwood                              26.00 LF        9.39       11.78        51.18      307.10        (0.00)        307.10
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                                                                                       CONTINUED - Closet 2



             DESCRIPTION                                                QUANTITY UNIT PRICE            TAX         O&P        RCV     DEPREC.            ACV
             45. Paint baseboard - two coats                                26.00 LF         1.69          0.33     8.84     53.11        (0.00)         53.11
              46. Final cleaning - construction -
    Master Bedroom                                                          37.19 SF         0.34          0.00     2.52     15.16        (0.00)         15.16
             Residential

             Totals: Closet 2                                                                          28.75      206.16   1,237.07           0.00    1,237.07




                                        4' 9"
                                                                 Closet 1                                                                            Height: 8'
                        3' 3"
                                3' 1"




                                                                               210.67 SF Walls                             38.65 SF Ceiling
                                                                               249.31 SF Walls & Ceiling                   38.65 SF Floor
                                2' 6"



                                                 8' 9"
                                                         9' 5"




      Closet 2                     Closet 1
                                                                                 4.29 SY Flooring                          26.33 LF Floor Perimeter
                                3' 2"




                                                                                26.33 LF Ceil. Perimeter
                                        4' 5"
                                        4' 11"



             DESCRIPTION                                                QUANTITY UNIT PRICE            TAX         O&P        RCV     DEPREC.            ACV
             47. Contents - move out then reset - Extra                      1.00 EA       221.08          0.00    44.22    265.30        (0.00)        265.30
             large room
             48. Mask and prep for paint - plastic,                         26.33 LF         1.58          0.53     8.42     50.55        (0.00)         50.55
             paper, tape (per LF)
             49. Floor protection - self-adhesive plastic                   38.65 SF         0.73          0.41     5.72     34.34        (0.00)         34.34
             film
             50. Remove Snaplock Laminate -                                 38.65 SF         1.64          0.00    12.68     76.07        (0.00)         76.07
             simulated wood flooring - High grade
             51. Snaplock Laminate - simulated wood                         44.44 SF         8.21      16.33       76.24    457.42        (0.00)        457.42
             flooring - High grade
             52. R&R Baseboard - 5 1/4" hardwood                            26.33 LF         9.39      11.93       51.84    311.01        (0.00)        311.01
             53. Paint baseboard - two coats                                26.33 LF         1.69       0.34        8.96     53.80        (0.00)         53.80
             54. Final cleaning - construction -                            38.65 SF         0.34       0.00        2.62     15.76        (0.00)         15.76
             Residential

             Totals: Closet 1                                                                          29.54      210.70   1,264.25           0.00    1,264.25




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                         3' 1"       5'           3' 1"
                        2' 11"                2' 11"
                                                                                                Bedroom 1                                                                             Height: 8'
                                                                                                               408.00 SF Walls                             158.89 SF Ceiling
                                                              14' 10"




                                                                                                               566.89 SF Walls & Ceiling                   158.89 SF Floor
                                                     14' 8"




                                 Bedroom 1
                                                                                                                17.65 SY Flooring                           51.00 LF Floor Perimeter
    Bedroom 2                                                           Master Bedroom
                                                                                                                51.00 LF Ceil. Perimeter
                         2' 6"           7' 10"
                    8"
                             Hallway
           DESCRIPTION                                                                                QUANTITY UNIT PRICE              TAX         O&P         RCV     DEPREC.            ACV
           55. Contents - move out then reset - Extra            1.00 EA                                                  221.08           0.00    44.22     265.30        (0.00)        265.30
           large room                     Closet 2    Closet 1

           56. Mask and prep for paint - plastic,               51.00 LF                                                     1.58          1.03    16.32      97.93        (0.00)         97.93
           paper, tape (perStairs
                             LF)
           57. Floor protection - self-adhesive plastic        158.89 SF                                                     0.73          1.67    23.54     141.20        (0.00)        141.20
           film
           Bedroom 3
           58. Remove    Snaplock
                              Up   Laminate    -1              158.89 SF                                                     1.64          0.00    52.12     312.70        (0.00)        312.70
                                        Bedroom
           simulated wood flooring - High grade
           59. Bedroom
                Snaplock
                       2  Laminate - simulated wood            182.72   SF
                                                               Master Bedroom                                                8.21      67.15      313.46    1,880.74       (0.00)      1,880.74
           flooring - High grade
           60. R&R Baseboard - 5 1/4" hardwood                  51.00 LF                                                     9.39      23.10      100.40     602.39        (0.00)        602.39
           61. Paint baseboard - two coats                      51.00 LF                                                     1.69       0.65       17.38     104.22        (0.00)        104.22
           62. Final cleaning - construction
                                       Hallway -               158.89   SF                                                   0.34       0.00       10.80      64.82        (0.00)         64.82
           Residential

           Totals: Bedroom 1                                                                                                           93.60      578.24    3,469.30           0.00    3,469.30

                                                                                                             Closet 2     Closet 1



                                                                                     Stairs
                            10' 10"                       2' 6" 7"                              Bedroom 3                                                                             Height: 8'
                                                                                                               389.33 SF Walls                             144.97 SF Ceiling
                                                                                 10' 11"




                                                                                                               534.30 SF Walls & Ceiling                   144.97 SF Floor
                                                                        10' 5"




                                 Bedroom 3                                                 Up
                                                                                                                16.11 SY Flooring                           48.67 LF Floor Perimeter
                                                                                                                48.67 LF Ceil. Perimeter
                 4' 2"              5'                4' 9"
                4' 6"                                  5' 1"



           DESCRIPTION                                                                                QUANTITY UNIT PRICE              TAX         O&P         RCV     DEPREC.            ACV
           63. Contents - move out then reset - Extra                                                        1.00 EA      221.08           0.00    44.22     265.30        (0.00)        265.30
           large room
           64. Mask and prep for paint - plastic,                                                           48.67 LF         1.58          0.99    15.58      93.47        (0.00)         93.47
           paper, tape (per LF)
           65. Floor protection - self-adhesive plastic                                                 144.97 SF            0.73          1.52    21.46     128.81        (0.00)        128.81
           film
           66. Remove Snaplock Laminate -                                                               144.97 SF            1.64          0.00    47.56     285.31        (0.00)        285.31
           simulated wood flooring - High grade
           67. Snaplock Laminate - simulated wood                                                       166.71 SF            8.21      61.27      286.00    1,715.96       (0.00)      1,715.96
           flooring - High grade
           68. R&R Baseboard - 5 1/4" hardwood                                                              48.67 LF         9.39      22.05       95.82     574.88        (0.00)        574.88
           69. Paint baseboard - two coats                                                                  48.67 LF         1.69       0.62       16.58      99.45        (0.00)         99.45

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                                                                                                                                                            CONTINUED - Bedroom 3



      DESCRIPTION                                                                                                                      QUANTITY UNIT PRICE                  TAX         O&P         RCV     DEPREC.            ACV
      70. Final cleaning - construction -                                                                                                  144.97 SF               0.34         0.00     9.86      59.15        (0.00)         59.15
      Residential

      Totals: Bedroom 3                                                                                                                                                     86.45      537.08    3,222.33           0.00    3,222.33




                                     4' 4"                 5'       4' 1"
                                       4'                          3' 11"
                                                                                                                         Bedroom 2                                                                                         Height: 8'
                                                                                                                                                    545.33 SF Walls                             258.24 SF Ceiling
                                                                                      14' 8"




                                                                                        Bedroom 1
                           21' 10"




                                                                                                                                                    803.57 SF Walls & Ceiling                   258.24 SF Floor
                                      21' 2"




                                       Bedroom 2                                                                        Master Bedroom
                                                                       2' 4"                                                                         28.69 SY Flooring                           68.17 LF Floor Perimeter
                                                                             2' 6"




                                                                                       Hallway                                                       68.17 LF Ceil. Perimeter
                                                                    3' 6"




                                               10' 7"
                                               10' 11"
                                                                                                                            Closet 2     Closet 1
      DESCRIPTION                                                                               Stairs
                                                                                                                                       QUANTITY UNIT PRICE                  TAX         O&P         RCV     DEPREC.            ACV
      71. Contents - move out then reset - Extra                                                                                                  1.00 EA        221.08         0.00    44.22     265.30        (0.00)        265.30
      large room      Bedroom 3     Up
      72. Mask and prep for paint - plastic,                                                                                                 68.17 LF              1.58         1.38    21.82     130.91        (0.00)        130.91
      paper, tape (per LF)
      73. Floor protection - self-adhesive plastic                                                                                         258.24 SF               0.73         2.71    38.24     229.47        (0.00)        229.47
      film
      74. Remove Snaplock Laminate -                                                                                                       258.24 SF               1.64         0.00    84.70     508.21        (0.00)        508.21
      simulated wood flooring - High grade
      75. Snaplock Laminate - simulated wood                                                                                               296.97 SF               8.21    109.14      509.44    3,056.70       (0.00)      3,056.70
      flooring - High grade
      76. R&R Baseboard - 5 1/4" hardwood                                                                                                   68.17 LF               9.39     30.88      134.20     805.20        (0.00)        805.20
      77. Paint baseboard - two coats                                                                                                       68.17 LF               1.69      0.87       23.22     139.30        (0.00)        139.30
      78. Final cleaning - construction -                                                                                                  258.24 SF               0.34      0.00       17.56     105.36        (0.00)        105.36
      Residential

      Totals: Bedroom 2                                                                                                                                                    144.98      873.40    5,240.45           0.00    5,240.45

                                                                   Bedroom 1

          Bedroom 2                                                                                            Master Bedroom

                                               2' 4" 2' 6"                     7' 10"                                    Hallway                                                                                           Height: 8'
                                        6"
                                                 3' 8" 2' 6"




                                                                                                         2' 6" 3' 4"
                                                                                                 3' 2"




                                                         8"
                                                                  Hallway                                                                           602.67 SF Walls                             167.90 SF Ceiling
                                        3' 6"




                                                                     3' 10" 2' 8"
                                                                       2"                      2' 8"                                                770.56 SF Walls & Ceiling                   167.90 SF Floor
                                        5' 10"
                                                 6' 4"




                                                                                                                                                     18.66 SY Flooring                           75.33 LF Floor Perimeter
                                                                   10' 1"
                                                                            9' 11"




                        8' 3"                                                                                          Closet 2        Closet 1
                                                                                                                                                     75.33 LF Ceil. Perimeter
        4' 1"
                3' 7"




                        8' 3"
                         10' 10"                               2' 6"        Stairs



            Bedroom 3
    2022-12-16-0945                                                                  Up                                                                                                                12/16/2022               Page: 7
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        DESCRIPTION                                                             QUANTITY UNIT PRICE              TAX       O&P          RCV     DEPREC.            ACV
        79. Contents - move out then reset - Extra                                  1.00 EA       221.08          0.00     44.22      265.30        (0.00)       265.30
        large room
        80. Mask and prep for paint - plastic,                                     75.33 LF          1.58         1.53     24.10      144.65        (0.00)       144.65
        paper, tape (per LF)
        81. Floor protection - self-adhesive plastic                              167.90 SF          0.73         1.76     24.88      149.21        (0.00)       149.21
        film
        82. Mask per square foot for drywall work                                 167.90 SF          0.32         0.76     10.90       65.39        (0.00)        65.39
        83. R&R 5/8" drywall - hung, taped, ready                                 167.90 SF          3.60         9.82    122.86      737.12        (0.00)       737.12
        for texture
        84. R&R 1/2" drywall - hung, taped, ready                                 602.67 SF          3.42        29.83    418.20     2,509.16       (0.00)      2,509.16
        for texture
        85. Seal the ceiling w/PVA primer - one                                   167.90 SF          0.67         0.76     22.66      135.91        (0.00)       135.91
        coat
        86. Texture drywall - heavy hand texture                                  167.90 SF          1.73         2.52     58.60      351.59        (0.00)       351.59
        87. Remove Snaplock Laminate -                                            167.90 SF          1.64         0.00     55.08      330.44        (0.00)       330.44
        simulated wood flooring - High grade
        88. Snaplock Laminate - simulated wood                                    193.08 SF          8.21        70.96    331.24     1,987.39       (0.00)      1,987.39
        flooring - High grade
        89. R&R Baseboard - 5 1/4" hardwood                                        75.33 LF          9.39        34.12    148.30       889.77       (0.00)        889.77
        90. Paint baseboard - two coats                                            75.33 LF          1.69         0.96     25.66       153.93       (0.00)        153.93
        91. Paint the walls and ceiling - two coats -                             770.56 SF          1.45        17.92    227.04     1,362.27       (0.00)      1,362.27
        2 colors
        92. Detach & Reset Smoke detector - High                                    1.00 EA         59.85         0.00     11.98       71.83        (0.00)        71.83
        grade
        93. Detach & Reset Recessed light fixture -                                 3.00 EA       129.58          0.00     77.74      466.48        (0.00)       466.48
        High grade
        94. Final cleaning - construction -                                       167.90 SF          0.34         0.00     11.42       68.51        (0.00)        68.51
        Residential
                       Bedroom 1
        Totals: Hallway                                                                                         170.94   1,614.88    9,688.95           0.00    9,688.95
    Bedroom 2                                       Master Bedroom




                       Hallway
                                3' 10"
                                                                  Stairs                                                                                 Height: 19' 11"
                          2"         4"
                       10' 1"




                                                       Closet 2      Closet 1         506.32 SF Walls                                73.31 SF Ceiling
                                                                                      579.63 SF Walls & Ceiling                     128.04 SF Floor
                                          16' 11"




                                Stairs
                                                                                       14.23 SY Flooring                             44.97 LF Floor Perimeter
                       6' 10"




                                                                                       38.17 LF Ceil. Perimeter
          Bedroom 3                Up
                                4' 4"


        Missing Wall                                                                     4' 4" X 19' 10 9/16"            Opens into Exterior

        DESCRIPTION                                                             QUANTITY UNIT PRICE              TAX       O&P          RCV     DEPREC.            ACV
        95. Contents - move out then reset - Extra                                  1.00 EA       221.08          0.00     44.22      265.30        (0.00)       265.30
        large room
        96. Mask and prep for paint - plastic,                                     38.17 LF          1.58         0.77     12.22       73.30        (0.00)        73.30
        paper, tape (per LF)
        97. Floor protection - self-adhesive plastic                              128.04 SF          0.73         1.34     18.96      113.77        (0.00)       113.77
        film


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                                                                                           CONTINUED - Stairs



     DESCRIPTION                                                             QUANTITY UNIT PRICE            TAX        O&P         RCV     DEPREC.             ACV
     98. Remove Snaplock Laminate -                                            128.04 SF         1.64        0.00     42.00      251.99        (0.00)        251.99
     simulated wood flooring - High grade
     99. Snaplock Laminate - simulated wood                                    147.25 SF         8.21       54.11    252.60     1,515.63       (0.00)       1,515.63
     flooring - High grade
     100. Clean balustrade - Heavy                                               1.00 LF         4.69        0.00      0.94        5.63        (0.00)          5.63
     101. Final cleaning - construction -                                      128.04 SF         0.34        0.00      8.70       52.23        (0.00)         52.23
     Residential

     Totals: Stairs                                                                                         56.22    379.64     2,277.85           0.00     2,277.85

     Total: Level 2                                                                                        836.76   6,230.22   37,380.73           0.00    37,380.73



                                                                                                  ROOF
                                     6'12'
                                        8" 7"
                                     6' 4"
                 7' 5" 19' 10"              2' 11"
                                       F7 (C)(1)
                                    Roof2
                                                                     Roof1
                                                   2' 5"




                                     F6 (B)
                                         F5 (A)
                                   8'




                                                           24' 10"
                                      9"




                              F1 (A)
                                                            23' 7"




                                                                                  2266.88 Surface Area                          22.67 Number of Squares
                  28
                   '1
                       0"
        39' 6"
        47' 1"




                 F3 (C)       Roof1        F4
                                                                                   202.37 Total Perimeter Length                 8.25 Total Ridge Length
                                  20




                                                                                   153.30 Total Hip Length
                                     '1




                                                           24' 10"
                          "




                                                            23' 7"
                       '9



                                       0"
                   26




                                           4' 6"




                            F2 (B)
                  12' 4"             Roof3 (2)
                                          12




                              11' 6"F8 (A)
                                             '8




                                      F10 (C)
                                                   "




                                        17' 5"

     DESCRIPTION                                                             QUANTITY UNIT PRICE            TAX       O&P          RCV     DEPREC.             ACV
     102. Remove Laminated - comp. shingle                                      22.67 SQ        72.06        0.00    326.72     1,960.32       (0.00)       1,960.32
     rfg. - w/out felt
     103. Laminated - comp. shingle rfg. -                                      26.33 SQ       322.79      258.67   1,751.56   10,509.29       (0.00)      10,509.29
     w/out felt
     104. Re-nailing of roof sheathing -                                     2,266.88 SF         0.37        1.70    168.10     1,008.55       (0.00)       1,008.55
     complete re-nail
     105. R&R Sheathing - plywood - 3/8"                                       230.00 SF         4.11       18.46    192.76     1,156.52       (0.00)       1,156.52
     CDX
     106. Roofing felt - 30 lb.                                                 22.67 SQ        56.43       27.46    261.36     1,568.09       (0.00)       1,568.09
     107. Asphalt starter - universal starter                                  202.11 LF         2.77        8.49    113.66       681.99       (0.00)         681.99
     course
     108. R&R Hip / Ridge cap - Standard                                       160.00 LF        11.49       29.88    373.66     2,241.94       (0.00)       2,241.94
     profile - composition shingles
     109. Prime & paint roof vent                                                5.00 EA        40.05        2.92     40.64       243.81       (0.00)         243.81
     110. R&R Drip edge                                                        202.11 LF         4.24       18.95    175.20     1,051.10       (0.00)       1,051.10
     111. R&R Flashing - pipe jack - lead                                        3.00 EA       107.03       10.48     66.32       397.89       (0.00)         397.89
     112. R&R Valley metal                                                      52.00 LF         8.99        9.87     95.48       572.83       (0.00)         572.83
     113. R&R Roof vent - off ridge type - 2'                                    4.00 EA       124.84       11.19    102.12       612.67       (0.00)         612.67

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                                                                  CONTINUED - Roof1



      DESCRIPTION                                   QUANTITY UNIT PRICE          TAX         O&P         RCV     DEPREC.            ACV
      114. R&R Exhaust cap - through roof - 6"          1.00 EA      138.20       3.35      28.32      169.87       (0.00)        169.87
      to 8"
      115. Digital satellite system - Detach &          1.00 EA       46.57       0.00        9.32      55.89       (0.00)         55.89
      reset
      116. Digital satellite system - alignment         1.00 EA      139.72       0.00      27.94      167.66       (0.00)        167.66
      and calibration only
      117. Meter mast for overhead power -              1.00 EA      671.95       0.00     134.40      806.35       (0.00)        806.35
      Detach & reset
      118. Prime & paint exterior fascia - metal,     202.11 LF        1.93       2.43      78.50      471.00       (0.00)        471.00
      4"- 6" wide
      119. Prime & paint exterior soffit - metal      202.11 SF        2.39       4.40      97.48      584.92       (0.00)        584.92
      120. Fall protection harness and lanyard -       10.00 DA        8.00       0.00      16.00       96.00       (0.00)         96.00
      per day
      121. Remove Additional charge for high           22.67 SQ        7.34       0.00      33.28      199.68       (0.00)        199.68
      roof (2 stories or greater)
      122. Additional charge for high roof (2          22.67 SQ       31.32       0.00     142.00      852.02       (0.00)        852.02
      stories or greater)

      Totals: Roof1                                                            408.25     4,234.82   25,408.39           0.00   25,408.39

      Total: ROOF                                                              408.25     4,234.82   25,408.39           0.00   25,408.39




                                         General

      DESCRIPTION                                   QUANTITY UNIT PRICE          TAX         O&P         RCV     DEPREC.            ACV
      123. Taxes, insurance, permits & fees (Bid        1.00 EA      350.00       0.00      70.00      420.00       (0.00)        420.00
      Item)
      124. Electrician - per hour                       4.00 HR      115.49       0.00      92.40      554.36       (0.00)        554.36
      125. Plumber - per hour                           4.00 HR      121.06       0.00      96.84      581.08       (0.00)        581.08
      126. Dumpster load - Approx. 40 yards, 7-         1.00 EA      755.00       0.00     151.00      906.00       (0.00)        906.00
      8 tons of debris
      127. R&R Sheathing - plywood - 1/2"             175.00 SF        3.36     19.56      121.54      729.10       (0.00)        729.10
      CDX
      128. Residential Supervision / Project           24.00 HR       68.16       0.00     327.16     1,963.00      (0.00)       1,963.00
      Management - per hour
      129. General clean - up                          16.00 HR       51.54       0.01     164.92      989.57       (0.00)        989.57

      Totals: General                                                           19.57     1,023.86    6,143.11           0.00    6,143.11

      Line Item Totals: 2022-12-16-0945                                       1,422.57   13,753.60   82,519.97           0.00   82,519.97




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      Grand Total Areas:
           4,328.99 SF Walls                      1,690.70 SF Ceiling              6,019.69 SF Walls and Ceiling
           1,745.44 SF Floor                        193.94 SY Flooring               522.81 LF Floor Perimeter
               0.00 SF Long Wall                      0.00 SF Short Wall             516.00 LF Ceil. Perimeter

           1,745.44 Floor Area                    1,827.34 Total Area              3,648.67 Interior Wall Area
           2,608.78 Exterior Wall Area              317.75 Exterior Perimeter of
                                                           Walls

           2,266.88 Surface Area                        22.67 Number of Squares     202.37 Total Perimeter Length
               8.25 Total Ridge Length                 153.30 Total Hip Length




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                                                       Summary for Dwelling
      Line Item Total                                                                       67,343.80
      Material Sales Tax                                                                     1,422.57

      Subtotal                                                                              68,766.37
      Overhead                                                                               6,876.80
      Profit                                                                                 6,876.80

      Replacement Cost Value                                                               $82,519.97
      Less Deductible                                                                       (6,900.00)

      Net Claim                                                                            $75,619.97




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                                                       Image Detail
      Image No.          Type                                Date Taken   Taken By
         1               1-IMG_6278                          12/3/2022


         2               2-IMG_6280                          12/3/2022


         3               3-IMG_6281                          12/3/2022


         4               4-IMG_6282                          12/3/2022


         5               5-IMG_6283                          12/3/2022


         6               6-IMG_6284                          12/3/2022


         7               7-IMG_6285                          12/3/2022


         8               8-IMG_6286                          12/3/2022


         9               9-IMG_6287                          12/3/2022


         10              10-IMG_6288                         12/3/2022


         11              11-IMG_6289                         12/3/2022


         12              12-IMG_6292                         12/3/2022


         13              13-IMG_6294                         12/3/2022


         14              14-IMG_6295                         12/3/2022


         15              15-IMG_6296                         12/3/2022


         16              16-IMG_6297                         12/3/2022


         17              17-IMG_6298                         12/3/2022


         18              18-IMG_6299                         12/3/2022
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                                                       Continued - Image Detail
      Image No.          Type                                      Date Taken     Taken By
         19              19-IMG_6300                               12/3/2022


         20              20-IMG_6301                               12/3/2022


         21              21-IMG_6302                               12/3/2022


         22              22-IMG_6303                               12/3/2022


         23              23-IMG_6306                               12/3/2022


         24              24-IMG_6307                               12/3/2022


         25              25-IMG_6310                               12/3/2022


         26              26-IMG_6313                               12/3/2022


         27              27-IMG_6314                               12/3/2022


         28              28-IMG_6315                               12/3/2022


         29              29-IMG_6316                               12/3/2022


         30              30-IMG_6318                               12/3/2022


         31              31-IMG_6319                               12/3/2022


         32              32-IMG_6320                               12/3/2022


         33              33-IMG_6321                               12/3/2022


         34              34-IMG_6322                               12/3/2022


         35              35-IMG_6323                               12/3/2022


         36              36-IMG_6324                               12/3/2022


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                                                       Continued - Image Detail
      Image No.          Type                                      Date Taken     Taken By
         37              37-IMG_6325                               12/3/2022


         38              38-IMG_6326                               12/3/2022


         39              39-IMG_6327                               12/3/2022


         40              40-IMG_8833


         41              41-IMG_8835


         42              42-IMG_8836


         43              43-IMG_8837


         44              44-IMG_8839


         45              45-IMG_8840


         46              46-IMG_8841


         47              47-IMG_8843


         48              48-IMG_8844


         49              49-IMG_8845


         50              50-IMG_8846


         51              51-IMG_8848


         52              52-IMG_8849


         53              53-IMG_8850


         54              54-IMG_8851


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                                                       Continued - Image Detail
      Image No.          Type                                      Date Taken     Taken By
         55              55-IMG_8852


         56              56-IMG_8853


         57              57-IMG_8926                               11/29/2022


         58              58-IMG_8924                               11/29/2022


         59              59-IMG_8923                               11/29/2022


         60              60-IMG_8922                               11/29/2022


         61              61-IMG_8919


         62              62-IMG_8918


         63              63-IMG_8915


         64              64-IMG_8914


         65              65-IMG_8906


         66              66-IMG_8907


         67              67-IMG_8908


         68              68-IMG_8909


         69              69-IMG_8910


         70              70-IMG_8913


         71              71-IMG_8854


         72              72-IMG_8855


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      Image No.          Type                                      Date Taken     Taken By
         73              73-IMG_8856


         74              74-IMG_8857


         75              75-IMG_8858


         76              76-IMG_8859


         77              77-IMG_8861


         78              78-IMG_8862


         79              79-IMG_8863


         80              80-IMG_8864


         81              81-IMG_8865


         82              82-IMG_8866


         83              83-IMG_8867


         84              88-IMG_8872


         85              89-IMG_8874


         86              90-IMG_8875


         87              91-IMG_8876


         88              92-IMG_8877


         89              93-IMG_8878


         90              94-IMG_8880


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                                                       Continued - Image Detail
      Image No.          Type                                      Date Taken     Taken By
         91              95-IMG_8881


         92              96-IMG_8882


         93              97-IMG_8883


         94              98-IMG_8884


         95              99-IMG_8885


         96              100-IMG_8887


         97              101-IMG_8888


         98              102-IMG_8889


         99              103-IMG_8890


         100             104-IMG_8891


         101             105-IMG_8892


         102             106-IMG_8893


         103             107-IMG_8894


         104             108-IMG_8895


         105             109-IMG_8896


         106             110-IMG_8897


         107             111-IMG_8898


         108             112-IMG_8900


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                                                       Continued - Image Detail
      Image No.          Type                                      Date Taken     Taken By
         109             113-IMG_8901


         110             114-IMG_8902


         111             115-IMG_8903


         112             116-IMG_8904


         113             117-IMG_8905


         114             118-IMG_8911


         115             119-IMG_8916


         116             120-IMG_8917


         117             121-IMG_8928


         118             122-IMG_8929


         119             123-IMG_8930


         120             124-IMG_8931


         121             125-IMG_8932


         122             126-IMG_8933


         123             127-IMG_8934


         124             128-IMG_8935


         125             129-IMG_8936


         126             130-IMG_8937


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      Image No.          Type                                      Date Taken     Taken By
         127             131-IMG_8939


         128             132-IMG_8940


         129             133-IMG_8941


         130             134-IMG_8942


         131             135-IMG_8943


         132             136-IMG_8944


         133             137-IMG_8946


         134             138-IMG_8947


         135             139-IMG_8949                              11/29/2022


         136             140-IMG_8952                              11/29/2022


         137             141-IMG_8958                              11/29/2022


         138             142-IMG_8959                              11/29/2022


         139             143-IMG_8961                              11/29/2022


         140             144-IMG_8963                              11/29/2022


         141             145-IMG_8966                              11/29/2022


         142             146-IMG_8968                              11/29/2022


         143             147-IMG_8970                              11/29/2022


         144             148-IMG_8973                              11/29/2022


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      Image No.          Type                                      Date Taken     Taken By
         145             149-IMG_8982                              11/29/2022


         146             150-IMG_8984                              11/29/2022


         147             151-IMG_8986                              11/29/2022


         148             152-IMG_8987                              11/29/2022


         149             153-IMG_8988                              11/29/2022


         150             154-IMG_8989                              11/29/2022


         151             155-IMG_8991                              11/29/2022


         152             156-IMG_8992                              11/29/2022


         153             157-IMG_8993                              11/29/2022


         154             158-IMG_8994                              11/29/2022


         155             159-IMG_8995                              11/29/2022


         156             160-IMG_8996                              11/29/2022


         157             161-IMG_8997                              11/29/2022


         158             162-IMG_8998                              11/29/2022


         159             163-IMG_8999                              11/29/2022


         160             164-IMG_9001                              11/29/2022


         161             165-IMG_9003                              11/29/2022


         162             166-IMG_9005                              11/29/2022


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                                                       Continued - Image Detail
      Image No.          Type                                      Date Taken     Taken By
         163             167-IMG_9006                              11/29/2022


         164             168-IMG_9008                              11/29/2022


         165             169-IMG_9009                              11/29/2022


         166             170-IMG_9010                              11/29/2022


         167             171-IMG_9011                              11/29/2022


         168             172-IMG_9012                              11/29/2022


         169             173-IMG_9014                              11/29/2022


         170             174-IMG_9015                              11/29/2022


         171             175-IMG_9016                              11/29/2022


         172             176-IMG_9019                              11/29/2022




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     Main Level          Case 6:23-cv-02408-PGB-RMN Document 1 Filed 12/15/23 Page 55 of 63 PageID 55




                                                                                       25' 11"

                        17' 7"                                                          25' 3"




                        Porche                9' 8"




                                                                                                                         13' 1"
                                                                                                                                  13' 9"
                                                                                     Dining Room




                                                                                                                     Main Level
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     Level 2             Case 6:23-cv-02408-PGB-RMN Document 1 Filed 12/15/23 Page 56 of 63 PageID 56




                                                                                                             38'
                                                       12' 11"                                      10' 10"                                                      12' 11"




                                                                                                                                     14' 8"
                                                                                            Bedroom 1
                            21' 10"




                                                                                                                                                                                                    21' 6"
                                                                                                                                              21' 2"
                                            Bedroom 2                                                                                                  Master Bedroom


                                                                                2' 4"




                                                                                                                                                                                           30' 3"
                                                                                             13' 2"



                                                                       6' 6"




                                                                                                                                     6' 2"
                                                                                          Hallway

                                                     10' 7"                      12' 8"                            7' 6"                                 8' 9"                                               4' 9"
                                                    10' 11"                                                  4' 4"                       6' 8"                   4' 3"                                       4' 5"
                                                                       5' 10"




                                                                                                                                                                           9' 1"




                                                                                                                                                                                                                     8' 9"
                                                                                                                                                                                                                             9' 5"
                                                                                          10' 1"




                                                                                                                                                       9' 1"
                                                                                                   9' 11"
                                                                                                                                                               Closet 2                             Closet 1
                                                         8' 3"
                                                          8' 3"
                                            3' 7"




                                                                                                                           16' 11"
                                                                                                       Stairs                                                                      4' 2"
                                                                   13' 11"                                                                                                     14' 2"
                                      15'




                                                                                                   10' 11"
                                                                                          10' 5"




                                                                 Bedroom 3                                     Up




                                                                   14' 7"




                                                                                                                                                                                                                                                  Level 2
       2022-12-16-0945                                                                                                                                                                                                               12/16/2022     Page: 46
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     ROOF               Case 6:23-cv-02408-PGB-RMN Document 1 Filed 12/15/23 Page 57 of 63 PageID 57




                                                                                                                                         6' 8"         12' 7"          6' 8"
                                                                                                                                         6' 4"                         6' 4"


                                                                                             19' 10"                                                   F7 (C)                          2' 11"




                                                                                                                                         9'
                                                                                                                                             2"
                                                               3' 3"
                                                               3' 1"
                                            3' 3"     7' 5"                                                                              Roof2
                                                                                                                                     F6 (B)                          (1)F5 (A)
                                            3' 1"




                                                                                                                                    8'




                                                                                                                                                                          9"
                                                                                                                                      9"




                                                                                                                                                                         8'
                                                                                                                                                             2' 5"
                                                                                                   F1 (A)                                                4"
                                                                                                                                                         4"




                                                                                                                                                                                                24' 10"
                                                                                                                                                                                                 23' 7"
                                                                                                                                                   "
                                                                                                                                                  '4
                                                                                                                                              33
                                                                       28
                                                                         '1
                                                                            0"
                                   39' 6"
                                 47' 1"




                                                                                                        1' 3"
                                                      F3 (C)                                      Roof1                                                          F4




                                                                                                                                                                                                     51' 9"
                                                                                                                          20
                                                                                                                           '1
                                                                                                                               0"
                                                                                 "
                                                                              '9
                                                                            26




                                                                                                                                                                                                24' 10"
                                                                                                                                                                                                 23' 7"
                                                                                                                                                          2"
                                                                                              F2 (B)                                                      2"




                                                                                                                                                         4' 6"
                                                                                                                                         "
                                                                                                                                     '6
                                                                                                                                    12
                                              4' 6"             12' 4"
                                                                                     3' 4"
                                                                                     3' 2"




                                                                                                                                                 Roof3 (2)
                                                                                                                1' 5"
                                                                                                                1' 4"




                                                                                                   11' 6"




                                                                                                                                                                         12
                                                                                                                   1" F8 (A)




                                                                                                                                                                           '8
                                                                                                                                                                                "
                                                                                                                  4' 8"




                                                                                                                                                       F10(C)

                                                                                                                                     9' 2"                                     9' 2"
                                                                                                                                     8' 9"              17' 5"                 8' 9"




                                                                                                                                                                                                                           ROOF
      2022-12-16-0945                                                                                                                                                                                         12/16/2022   Page: 47
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                                                                                            County Property       58 of 63 PageIDEXHIBIT
                                                                                                            Appraiser             58     2

                    Osceola County Property Appraiser
                    Katrina S. Scarborough, CFA, CCF, MCF
                     Basic Search           Advanced Search       Sales Search       Search Results   Parcel Result        Map        Help


    Parcel Result
    Parcel: 202530486500011010
         TRIM Notice       Property Record Card       Map Image     Tax Collector     Map View   E-Mail Parcel       NEW Bird's Eye View

          Owner Information
     Owner Name                   MATEO ARIEL KELLY
                                  PEREZ GLENNI S
     Mailing Address              2716 LUCAS LAKES LN
                                  KISSIMMEE, FL 34744
     Physical Address             2716 LUCAS LAKES LN, KISSIMMEE FL 34744
     Description                  SINGLE FAMILY-IMPROVED
     Tax District                 361 - REMINGTON




          Tax Values                                                                                                                                             View Tax Estimator
     Current Values                                                                               Certified Values
     Current Value represents working appraised values as of 12/14/2023, which are subject to     Certified Value represents certified values that appeared on the tax roll as of
     change prior to certification                                                                10/04/2023
     Land                         $60,000                                                         Land                      $60,000
     AG Benefit                   $0                                                              AG Benefit                $0
     Extra Features               $18,600                                                         Extra Features            $19,800
     Buildings                    $287,200                                                        Buildings                 $289,500
     Appraised(Just)              $365,800                                                        Appraised(just)           $369,300
     Assessed(estimated)          $222,414                                                        Assessed*                 $215,936
     Exemption(estimated)         $50,000                                                         Exemption                 $50,000
     Taxable(estimated)           $172,414                                                        Taxable                   $165,936
     * Assessed Values Reflect Adjustments for Agricultural Classification and/or the Save Our    * Assessed Values Reflect Adjustments for Agricultural Classification and/or the
     Homes Cap                                                                                    Save Our Homes Cap

          Sales Information
     Seq             ORB-Pg                          Price                    Date                          Deed Type
     0               5035-2457                       $242,000                 2016-09-15                    Warranty Deed (WD)
     1               4339-0133                       $100                     2012-10-18                    Quit Claim Deed (QC)


https://ira.property-appraiser.org/PropertySearch/                                                                                                                                    1/4
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                                                                                                           Appraiser
     Seq             ORB-Pg                          Price              Date                            Deed Type
     2               4191-2843                       $100               2011-10-14                      Quit Claim Deed (QC)
     3               4191-2299                       $90,000            2011-10-11                      Warranty Deed (WD)
     4               3076-2369                       $320,000           2006-02-10                      Special Warranty Deed (SW)
     5               2841-0705                       $289,700           2005-07-13                      Special Warranty Deed (SW)

         Land Information - Total Acreage: 0.14
     Land Description                                           Units          Depth                    Land Type                             Land Value
     RESIDENTIAL                                                1.00           119.00                   LT                                    $60,000

         Extra Features
     Extra Feature                                                                                           Units        Year Built                Feature Value
     SWIMMING POOL(IN GROUND ONLY) AVERAGE                                                                   392          2006                      $9,722
     SPA/HOT TUB-IN GROUND AVERAGE                                                                           28           2006                      $1,008
     POOL DECK GOOD                                                                                          1430         2006                      $3,968
     SCREEN ENCLOSURE AVERAGE                                                                                2980         2006                      $3,874

         Building Information
     Building: 1                                                                                                                                             View Building Sketch
     Description                                     SINGLE FAMILY                      Bedrooms                                       4
     Year Built                                      2005                               Full Bathrooms                                 2
     Value                                           $287,200                           Half Bathrooms                                 1
     Actual Area                                     3100                               Fixtures
     Heated Area                                     2407                               Roof Cover                                     4 COMPOSITE SHINGLE
                                                                                        Exterior Wall                                  (0.50) 10 CONCRETE BLOCK STUCCO
                                                                                                                                       (0.50) 7 FRAME STUCCO
     Building 1 subarea
     Description                                     Code                               Year Built                                     Total Sketched Area
     UPPER STORY FINISHED                            USF                                2005                                           1353
     BASE AREA                                       BAS                                2005                                           1054
     OPEN PORCH FINISHED                             OPF                                2005                                           85
     GARAGE FINISHED                                 GRF                                2005                                           440
     OPEN PORCH FINISHED                             OPF                                2005                                           168
     Building 1: Photos




     Building 1: Sketch




https://ira.property-appraiser.org/PropertySearch/                                                                                                                                  2/4
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     Building 1: Sketch




         Legal Description
     Legal Description            REMINGTON PARCEL O PB 17 PGS 33-34 LOT 101




                                                NUMBER                                     EMAIL
                                                407-742-5000                               info@property-appraiser.org

                                                ADDRESS
                                                Property Appraiser's Office          View Map
                                                2505 E Irlo Bronson Memorial Hwy
                                                Kissimmee, FL 34744




                                         Business Hours                              About the Property Appraiser
                                         HOURS OF OPERATION
                                                                                        Katrina S. Scarborough CFA, CCF, MCF
                                         Monday - Friday : 8am to 5pm
                                         Closed Saturday and Sunday                     Accessibility

                                                                                        Career Opportunities

                                                                                        Departments

                                                                                        Holiday Schedule

                                                                                     Other County Agencies

                                                                                        Board of County Commissioners

                                                                                        Clerk of the Courts

                                                                                        Sheriff’s Office

                                                                                        Supervisor of Elections

                                                                                        Tax Collector




https://ira.property-appraiser.org/PropertySearch/                                                                                    3/4
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                                                                                                           Appraiser
                                       2019 © All Rights Reserved
                                       Home About Katrina S. Scarborough   FAQ   Appraisal Process   Career Opportunities   Newsroom   Budget   Contact




https://ira.property-appraiser.org/PropertySearch/                                                                                                        4/4
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                                                        NOTICE OF PROPOSED PROPERTY TAXES AND
                                                   PROPOSED OR ADOPTED NON-AD VALOREM ASSESSMENTS
                                                                                                                                                     IMPORTANT NOTICE
                                                          OSCEOLA COUNTY TAXING AUTHORITIES                                                               D O N O T PAY
                                                                               2023 REAL ESTATE                                                        THIS IS NOT A BILL
                                                                                                                                 SITE ADDRESS: 2716 LUCAS LAKES LN
                                                                                                                                                     KISSIMMEE
                                         ,                          ,
                                         202530486500011010                                     HX                               LEGAL DESCRIPTION:
¬OªIOm5Mz--tHpW                                                                                                               REMINGTON PARCEL O PB 17 PGS 33-34 LOT 101
¬=SsC2tngypKb¡V
¥5ueE¥ 55 5U
                                         MATEO ARIEL KELLY
                                         PEREZ GLENNI S
                             6 - 20414
                             81




                                         2716 LUCAS LAKES LN
                                         KISSIMMEE FL 34744-5404
                                         °®­­­­®®­¯­°®­­­°®­°®®­°­®­­°°­¯¯­­°¯­°®­¯¯®°°°°®°¯°¯®°¯­¯­¯®¯°­­




                                                                             TAXING AUTHORITY TAX INFORMATION
                                                                                                                                      YOUR TAX RATE AND TAXES         YOUR TAX RATE AND TAXES
                                                           PRIOR 2022       YOUR FINAL TAX RATE AND TAXES            CURRENT 2023             THIS YEAR                       THIS YEAR
        TAXING AUTHORITY                                                            LAST YEAR 2022                                         IF NO BUDGET                 IF PROPOSED BUDGET
                                                        TAXABLE VALUE                                               TAXABLE VALUE
                                                                                                                                          CHANGE IS MADE                   CHANGE IS MADE
                                                                              COLUMN 2           COLUMN 3             COLUMN 4        COLUMN 5       COLUMN 6        COLUMN 7          COLUMN 8
                          COUNTY                           COLUMN 1
                                                                                RATE              TAXES                                 RATE          TAXES            RATE             TAXES

     OSCEOLA CO                             361                159,647         6.700000            1,069.63              165,936       6.031200        1,000.79        6.700000         1,111.77
     SAVE OSC MAN                                              159,647          .077300               12.34              165,936        .069500           11.53         .094900            15.75
     EMER MED SRV                                              159,647         1.068200              170.53              165,936        .964800          160.10        1.068200           177.25
     REMINGTON                                                 159,647          .250000               39.91              165,936        .223800           37.14         .300000            49.78
                       PUBLIC SCHOOLS
     SCH STATE LW                                              184,647         3.268000              603.43              190,936       2.819500          538.34        3.256000           621.69
     SCH-LOCAL BD                                              184,647         2.248000              415.09              190,936       1.939500          370.32        2.248000           429.22
                       MUNICIPALITIES



                     WATER MANAGEMENT

     SFWMD EVERG                                               159,647           .032700                5.22             165,936        .029300            4.86         .032700              5.43
     SO FL WATER                                               159,647           .094800               15.13             165,936        .085000           14.10         .094800             15.73

     SFWMD OKEE                                                159,647           .102600               16.38             165,936        .092000            15.27        .102600             17.03
                     INDEPENDENT DISTRICT




                       VOTER APPROVED

     LIBRARY DIST                                              159,647           .300000               47.89             165,936        .269500            44.72        .300000             49.78
     SAVE OSC DBT                                              159,647           .085300               13.62             165,936        .067700            11.23        .067700             11.23



        TOTAL AD VALOREM PROPERTY TAXES                                                            2,409.17                                             2,208.40                         2,504.66

                                                                         PROPERTY APPRAISER VALUE INFORMATION
                                                                     MARKET                                                              ASSESSED VALUE
                                                                      VALUE                                    APPLIES TO SCHOOL MILLAGE                   APPLIES TO NON-SCHOOL MILLAGE

    PRIOR YEAR 2022                                                                       316,800                                          209,647                                       209,647

    CURRENT YEAR 2023                                                                     369,300                                          215,936                                       215,936

                                                                                                                                               If you feel the market value of the property is
    APPLIED ASSESSMENT REDUCTION                            APPLIES TO                       PRIOR VALUE 2022         CURRENT VALUE 2023
                                                                                                                                               inaccurate or does not reﬂect fair market value as of
    SAVE OUR HOMES BENEFIT                                  ALL TAXES                                   107,153                    153,364     January 1, 2023, or if you are entitled to an
                                                                                                                                               exemption or classification that is not reﬂected,
    NON-HOMESTEAD 10% CAP BENEFIT                           NON-SCHOOL TAXES                                    0                       0      please contact the Osceola County Property
                                                                                                                                               Appraiser’s Ofﬁce at:
    AGRICULTURAL CLASSIFICATION                             ALL TAXES                                           0                       0
                                                                                                                                                        2505 E Irlo Bronson Mem Hwy
    OTHER                                                   ALL TAXES
                                                                                                                                                         Kissimmee, FL 34744-4909
    EXEMPTIONS                                              APPLIES TO                       PRIOR AMOUNT 2022        CURRENT AMOUNT 2023              Customer Service (407) 742-5000

    FIRST HOMESTEAD                                         ALL TAXES                                    25,000                     25,000     If the Property Appraiser’s Ofﬁce is unable to resolve
                                                                                                                                               the matter as to the market value, classification, or
                                                            NON-SCHOOL COUNTY TAXES                      25,000                     25,000     an exemption, you may ﬁle a petition for adjustment
  ADDITIONAL HOMESTEAD                                                                                                                         with the Value Adjustment Board. Petition forms are
                                                            NON-SCHOOL CITY TAXES                                                              available online at www.property-appraiser.org.
                                                            COUNTY TAXES                                        0                       0
  LIMITED INCOME SENIOR                                                                                                                               Petitions must be filed on or before
                                                            CITY TAXES
                                                                                                                                                             September 12, 2023
    OTHER                                                   ALL TAXES                                           0                       0
                                                                                                                                                                                             OS-474N
 SEE REVERSE SIDE FOR NON-ADVALOREM ASSESSMENTS AND EXPLANATIONS OF THE COLUMNS ABOVE AND PUBLIC HEARING DATE, LOCATION AND TIME.                                                             R. 7/15
                          Osceola County Document
              Case 6:23-cv-02408-PGB-RMN Notice of1Proposed    Property
                                                    Filed 12/15/23      Taxes
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The Taxing Authorities which levy property taxes against your property will soon hold PUBLIC HEARINGS to adopt budgets and tax rates for the next year. The purpose of the
PUBLIC HEARINGS is to receive opinions from the general public and to answer questions on the proposed tax change and budget PRIOR TO TAKING FINAL ACTION. Each
Taxing Authority may AMEND OR ALTER its proposals at the hearing.

                                                              TAXING AUTHORITY HEARING INFORMATION
   TAXING
                                                                                  PUBLIC HEARING DATE, LOCATION AND TIME
  AUTHORITY
OSCEOLA CO              Sep 7, 5:30 PM         1 COURTHOUSE SQUARE, KISSIMMEE (407)742-1800
SCH-LOCAL BD            Sep 5, 5:30 PM         817 BILL BECK BLVD, KISSIMMEE (407)870-4832
SO FL WATER             Sep 14, 5:15 PM        3301 GUN CLUB RD, B-1 BLDG, WEST PALM BEACH (561)686-8800




 YOUR FINAL TAX BILL MAY CONTAIN NON-AD VALOREM ASSESSMENTS WHICH MAY NOT BE REFLECTED ON THIS NOTICE SUCH AS ASSESSMENTS FOR ROADS, FIRE, GARBAGE, LIGHTING,
 DRAINAGE, WATER, SEWAGE, OR OTHER GOVERNMENTAL SERVICES AND FACILITIES WHICH MAY BE LEVIED BY YOUR COUNTY, CITY, SPECIAL DISTRICTS OR OTHER TAXING AUTHORITY.
 NOTE: Non-ad valorem assessments are placed on this notice at the request of the respective local governing boards. Your tax collector will be including them on the November tax notice. For details on
 particular non-ad valorem assessments, contact the levying local governing board.
 NOTE: Amounts shown on this form do not reﬂect early payment discounts you may have received or may be eligible to receive. (Discounts are a maximum of 4 percent of the amounts shown on this form.)
 All affected property owners have the right to appear at the public hearing and file written objections to the non-ad valorem assessments.


                                                                        NON-AD VALOREM ASSESSMENTS
   LEVYING                                                      PURPOSE OF ASSESSMENT
                                                    Provided on this notice at request of respective governing boards.                                  UNITS              RATE         ASSESSMENT
  AUTHORITY                                                Tax Collector will include on November tax notice.
OSCEOLA CO           Fire Rescue Residential Units                        9/7/23 5:30 PM                             1 Courthouse Sq. Kissimmee               1.0000       245.7600                245.76
                                                                                                                                 (407-742-1800)
OSCEOLA CO           Household Chemical MSBU                              9/7/23 5:30 PM                             1 Courthouse Sq. Kissimmee               1.0000          4.0000                  4.00
                                                                                                                                 (407-742-1800)
OSCEOLA CO           Solid Waste- Waste Management                        9/7/23 5:30 PM                             1 Courthouse Sq. Kissimmee               1.0000       371.9100                371.91
                                                                                                                                 (407-742-1800)




 TOTAL ASSESSMENTS                                  Please read enclosed additional information about non-ad valorem assessments.                                                                  621.67

                                        EXPLANATION OF ‘TAXING AUTHORITY TAX INFORMATION’ SECTION
 COLUMN 1 - “PRIOR TAXABLE VALUE”
 This column shows the prior assessed value less all applicable exemptions used in the calculation of taxes for that speciﬁc taxing authority.
 COLUMNS 2 & 3 - “YOUR FINAL TAX RATE AND TAXES LAST YEAR”
 These columns show the tax rate and taxes that applied last year to your property. These amounts were based on budgets adopted last year and your property’s
 previous taxable value.

 COLUMN 4 - “CURRENT TAXABLE VALUE”
 This column shows the current assessed value less all applicable exemptions used in the calculation of taxes for that speciﬁc taxing authority. Current year taxable
 values are as of January 1, 2023.

 COLUMNS 5 & 6 - “YOUR TAX RATE AND TAXES IF NO BUDGET CHANGE IS MADE”
 These columns show what your tax rate and taxes will be IF EACH TAXING AUTHORITY DOES NOT CHANGE ITS PROPERTY TAX LEVY. These amounts are
 based on last year’s budgets and your current assessment.
 COLUMNS 7 & 8 - “YOUR TAX RATE AND TAXES IF PROPOSED BUDGET CHANGE IS MADE”
 These columns show what your tax rate and taxes will be this year under the BUDGET ACTUALLY PROPOSED by each taxing authority. The proposal is NOT ﬁnal
 and may be amended at the public hearings shown at the top of this notice. The difference between columns 6 and 8 is the tax change proposed by each local taxing
 authority and is NOT the result of higher assessments.

                                    EXPLANATION OF ‘PROPERTY APPRAISER VALUE INFORMATION’ SECTION
 MARKET (JUST) VALUE - The most probable sale price for a property in a competitive, open market involving a willing buyer and a willing seller.
 ASSESSED VALUE - The value of your property after any “assessment reductions” have been applied. This value may also reﬂect an agricultural classiﬁcation.
 If “assessment reductions” are applied or an agricultural classiﬁcation is granted, the assessed value will be different for School versus Non-School taxing authorities
 and for the purpose of calculating tax levies.
 TAXABLE VALUE: - Taxable value is the current assessed value less all applicable exemptions used in calculation of taxes for taxing authorities.
 APPLIED ASSESSMENT REDUCTION - Properties can receive an assessment reduction for a number of reasons, including the Save Our Homes beneﬁt and the 10%
 non-homestead property assessment limitation. Agricultural Classiﬁcation is not an assessment reduction. It is an assessment determined per Florida Statute 193.461.
 EXEMPTIONS - Any exemption that impacts your property is listed in this section, along with its corresponding exemption value. Speciﬁc dollar or percentage
 reductions in assessed value may be applicable to a property based upon certain qualiﬁcations of the property or property owner. In some cases, an exemption's
 value may vary depending on the taxing authority. The tax impact of an exemption value may also vary for the same taxing authority, depending on the levy (i.e.,
 operating millage vs. debt service
                                  . millage)
 For more information concerning this Notice of Proposed Property Taxes please visit our website at www.property-appraiser.org
